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                                                                      FACILITY SHEET

                                                              (REAL ESTATE TERM LOAN 3)
         This Facility Sheet (as may be amended, modified or supplemented from tune to time, referred to herein as this 'facility Sheet") is dated as of
 August 9, 2018 arid is with regard to Facility Loan No 22115475 between EASTERDAY FARMS PRODUCE, CO , a Washington corporation
 ("gastertley Farms Produce") 3E PROPERTIES, a Washington general partnership ("3E Properties"), GALE ALLEN EASTERDAY ("Gale Easterday")
 and KAREN LOUISE EASTERDAY ("Karen Easterday), married spouses, CODY ALLEN EASTERDAY ("Cody Easlerdav") and DEBBY EASTERDAY
 ("Debby Easterdav"), mamed spouses, and JODY DEE EASTERDAY ("Jody Easter ay") and ANDREW H WILLS ("Andrew Wills"). mamed spouses
 (Easterday Farms Produce, 3E Properties, Gale Easterday, Karen Easterday, Cody Easterday, Debby Easterday, Jody Easterday, and Andrew Wills are
 herein individually and collectively "Borrower") and RABO AGRIFINANCE LLC. a Delaware limited liability company (Under) end hereby supersedes
 any and all previous facility sheets that governed this obligation
         Parties and Lender have entered into a Master Credit Agreement ("MCA") dated August 9, 2018 which may include schedules, addendums, and
 exhibits thereto The MCA incorporates by reference and includes a Schedule of Definitions and Covenants ("Schedule of Definitions and Covenants")
 dated of even dale with the MCA and any Applicable Obligor Covenant Schedule Borrower agrees that Borrower has received and reviewed the
 Schedule of Definitions and Covenants and any Applicable Obligor Covenant Schedule All terms, covenants, conditions and restrictions set forth in the
 MCA are incorporated herein by reference as if fully set forth herein Capitalized terms contained in this Facility Sheet are used as defined in the
 Schedule of Definitions arid Covenants and any Applicable Obligor Covenant Schedule Some or all of the capitalized terms defined in the Schedule of
 Definitions and Covenants are used in this Facility Sheet as so defined and the terms of such Schedule of Definitions and Covenants are incorporated
 by reference into this Facility Sheet for purposes of so defining the capitalized terms that are used in this Facility Sheet in accordance with the Schedule
 of Definitions and Covenants To the extent any term is defined in the Schedule of Definitions and Covenants but is not used in this Facility Sheet or any
 amendment, modification or supplement to this Facility Sheet, such term shall be deemed to be disregarded, of no meaning and without any effect
 Except as otherwise defined in this Facility Sheet, the MCA or in the Schedule of Definitions and Covenants, or unless the context otherwise requires,
 each term that is used in this Facility Sheet which is defined in Article 9 of the UCC shall have the meaning ascribed to that term in Article 9 of the UCC
        Borrower requests that Lender make a Loan pursuant to this Facility Sheet Lender agrees to make such Loan, subject to the terms and
 conditions of this Facility Sheet, the MCA and the Schedule of Definitions and Covenants
                                                          ARTICLE 1 - PRINCIPAL LOAN TERMS
        This Facility Sheet is made and entered on the following Loan terms
           101       Loan Type The Loan Type being made pursuant to this Facility Sheet is as follows Real Estate Term Loan 3
          102        Loan Amount Lender shall lend Borrower the pnncipal sum of $850,000 00
         103         Purpose The Real Estate Term Loan 3 must be used only for to fund a related party note from 3E Properties to Jody Easterday
 and Andrew Wills
            1 04      Jnterest Rate The unpaid principal balance of the Real Estate Term Loan 3 will bear interest at the rate of 4 820% per annum,
fixed for the term of the fealty
          1 05        °owed Payments, Matuntv Date
                   (a)       Borrower shall make equal combined payments of principal and accrued interest on the Real Estate Term Loan 3 in an
          amount calculated to fully amortize the original principal amount of the Real Estate Term Loan 3 over a term of 84 Real Estate Term Loan 3
          Loan Months on January 1, 2019 and the first day of each January, April, July and October during the period from that date to the Real Estate
          Term Loan 3 Maturity Date
                    (b)      The unpaid principal balance of, all unpaid accrued interest on, and other charges under this Facility Sheet with respect to
          the Real Estate Term Loan 3, shall be paid on October 1, 2025 (the 'seal Estate Term Loan 3 Maturity Date")
          1.06      Prepayments. Prepayments of the Real Estate Term Loan 3 are subject to the following
                    (a)        The Real Estate Term Loan 3 may be Prepaid at any time if accompanied by payment of the Prepayment Fee
                               Notwithstanding the provisions of this section to the contrary, during each year, Borrower may prepay up to 20% of the
          original principal amount of the Real Estate Term Loan 3 without Prepayment Fee or penalty Prepayments of the Loan which during any year
          exceed, in the aggregate 20% of the original principal amount of the Real Estate Term Loan 3 ("Rea Estate Term Loan 3 Excess Payments-)
          must be accompanied by payment of the Real Estate Term Loan 3 Prepayment Fee
                   (c)       For purposes of Prepayments of the Real Estate Term Loan 3. the "Real Estate Term Loan 3 Prepayment Fee" shall
          mean the Yield Maintenance Fee, calculated using a Reinvestment Spread equal to 1 5%, and 1% as the Yield Maintenance Minimum
                   (d)       Notwithstanding the provisions of this section to the contrary, during the 30 day period immediately prior to the Real
          Estate Term Loan 3 Maturity Date, Borrower may prepay the entire unpaid balance of the Real Estate Term Loan 3 in full, without Prepayment
          Fee or penalty
          1.07      Definition of "Loan Month " The term "Real Estate Term Loan 3 Loan Month" means the one month period beginning on the first
day of the calendar month Immediately following the Closing Date, arid each successive one month paned
         1.08       The Real Estate Term Loan 3_Note The Real Estate Term Loan 3 has been or will be evidenced by this Facility Sheet and a
promissory note in a form provided by Lender (the "Real Estate Term Loan 3 Note")
                          ARTICLE 2 - COVENANTS REGARDING THE LOAN TYPE MADE UNDER THIS FACILITY SHEET
         2 01     Prepayments Generally. Prepayments must be accompanied by all unpaid accrued interest on the Prepayment and all other
amounts due under this Faddy Sheet Each Prepayment of a portion of the Loan will be applied to the most remote payment of the principal due under




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 this Facility Sheet If Lender receives any Prepayment which it is permitted to refuse, Lender may accept the Prepayment, except that Lender may, as a
 condition of acceptance, require the payment of interest which would accrue on the amount Prepaid through the date when Lender would be obligated to
 accept the Prepayment, or the date the principal amount Prepaid would be due under this Facility Sheet, whichever is earlier
         EXCEPT AS OTHERWISE SET FORTH HEREIN, BORROWER EXPRESSLY WAIVES THE RIGHT TO PREPAY THE LOAN IN WHOLE OR IN
         PART WITHOUT PREPAYMENT FEE AND EXPRESSLY AGREES TO PAY THE PREPAYMENT FEE IN ACCORDANCE WITH THIS
         FACIUTY SHEET UPON ANY ACCELERATION OF THE REAL ESTATE TERM LOAN 3 MATURITY DATE OF THE LOAN, INCLUDING,
         WITHOUT UMITATION, ANY SUCH ACCELERATION UPON A PROHIBITED TRANSFER OR ACCELERATION UPON DEFAULT

             2.02      Default Rate. Upon the occurrence of an Event of Default, the principal balance of Loan and, to the extent permitted by Applicable
 Law, all other Loan Obligations shall, from the date of the Event of Default until the date Lender notifies Borrower that it is waived or cured or all Loan
 Obligations are paid in full, bear interest al the Real Estate Term Loan 3 Default Rate Subject to the provisions of the Schedule of Definitions and
 Covenants and this Facility Sheet, the "Real Estate Term Loan 3 Default Rate" means the rate applicable to the unpaid principal balance of the Real
 Estate Term Loan 3 plus 10 000% per annum Interest payable at the Real Estate Term Loan 3 Default Rate shall be paid from time to lime on demand,
 or if not sooner demanded, on the first day of each month The provisions of this section may result in compounding of interest The provisions of this
 section will neither constitute a waiver of any Event of Default nor require the declaration of an Event of Default
             2.03        Collateral Documents. The payment and performance of the Obligations are secured by the following
                        (a)         all Liens in favor of Lender created under and secured by the Loan Documents
                                                                    ARTICLE 3 • CONDITIONS
             3 01       Conditions of the Loan. Lender's obligation to make the Loan(s) is subject to the following conditions precedent
                      (a)       No Event of Default or event which, with the passage of time or the giving of notice would constitute an Event of Default
             has occurred and remains uncured,
                        (b)         Lender's receipt of a closing fee in the amount of 68,500 00, and
                        (c)      reimbursement of Lender's out of pocket expenses, including Legal Fees and any fees and costs payable by Lender as
             set forth in the MCA or any amendment, modification or supplement thereto, incurred in connection with the underwriting of the Loans or the
             Closing
                                                     ARTICLE 4 — REPRESENTATIONS AND WARRANTIES
        Until such time as all Obligations have been paid in full and Lender has no obligation to make any additional advance under the Loan, Borrower (or
 the Person or Persons being one or more of the Borrowers as may be specifically named in any of the following representations and covenants) agrees
 to and makes the following representations and covenants
            4 01        Master Credit Aqr ement Representations Borrower re-makes and confirms all of Borrower Representations set forth in the
 MCA
         4.02       Enti Aareem in This Facility Sheet and the other Loan Documents, collectively (r) represent the sum of the understandings and
agreements between Lender and Borrower concerning this credit, (a) replace any prior oral or written agreements between Lender and Borrower
concerning this credit, and (iii) are intended by Lender and Borrower as the final, complete arid exclusive statement of the terns agreed to by them
        4 03       Covenants Borrower hereby makes and agrees to be bound by at of the Covenants as set forth on Schedule 1 attached hereto
and made a part hereof
        4.04       jeeportina Recteirements. Borrower hereby makes and agrees to be bound by all of the Reporting Requirements as set forth
on Schedule 2 attached hereto and made a part hereof
        4 05     WAIVER OF PRIOR CLAIMS BORROWER WAIVES AND RELEASES ANY AND ALL CLAIMS AGAINST LENDER. ITS PARENT,
SUBSIDIARIES, AFFILIATES AND ITS MERGED PREDECESSOR, AG SERVICES OF AMERICA, INC , THE SUBSIDIARY OF SUCH PREDECESSOR,
AG ACCEPTANCE CORPORATION, AND THE RESPECTIVE SUCCESSORS. ASSIGNS, PARTICIPANTS, AGENTS AND EMPLOYEES OF EACH AND
ALL OF THE FOREGOING, RELATING OR PERTAINING TO OR ASA RESULT OF THE EXISTING LOANS, AND ANY OTHER ACT OR OMISSION
WHICH HAS OCCURRED PRIOR TO THE EXECUTION OF THIS FACIUTY SHEET, INCLUDING ALL CLAIMS OF USURY, FRAUD, DECEIT,
MISREPRESENTATION, UNCONSCIONABIUTY, DURESS, OR LENDER LIABILITY, ANY OTHER CLAIM IN TORT OR IN CONTRACT, OR FOR
VIOLATION OF ANY LAW, RULE OR REGULATION
            4.06      xxoensos The Borrower shall pay within ten (10) Business Days after demand from Lender, all costs and expenses incurred (or
reimburse Lender for payment of) in connection with the preparation, execution, delivery, filing, arid administration of this Facility Sheet (including, without
limitation, Legal Fees incurred in connection with the preparation of this Facility Sheet and advising the Lender as to its rights, and the cost of any credit
verification reports or field examinations of the Borrower's properties or books and records)
          4 07     State Specific Addendum The following state specific language is hereby added to this Facility Sheet as set forth on Schedule 3
attached hereto and made a part hereof
           4.08       Counterpart Execution This Facility Sheet may be executed in one or more counterparts, each of which shall be deemed to be an
original and all of which, when taken together, shalt be deemed to be one and the same agreement or document A signed copy of this Facility Sheet
transmitted by facsimile, email or other means of electronic transmission shall be deemed to have the same legal effect as delivery of an original
executed copy of this Facility Sheet for all purposes, provided, however that Borrower shall promptly deliver an original signed copy of this Facility Sheet
to Lender




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                                                   BORROWER AND GRANTOR UNDER THE MASTER SECURITY AGREEMENT:

  Address for Notices:                            EASTERDAY FARMS PRODUCE,                a Washington corporation
  1427 N 1st Ave
  Pasco, WA 99301

  Alternate address for notice by U.S. Mail:      By
  PO Box 2813                                           JO      •E EAS ERDAY
  Pasco, WA 99302                                       Pe    ent


  Address for Notices:                            3E PROPERTIES, a Washington generaLpi,
                                                                                 .../.. arship
  1427 N 1st Ave
  Pasco, WA 99301




                                                                                      •
  Alternate address for notice by U.S. Mail:
  PO Box 2813                                           JODY DE         TERD
  Pasco, WA 99302                                       Part




                                                        COD     LEN EAS          AY
                                                        Part =r



                                                  By:
                                                        DEBBY EASTERDAY
                                                        Partner



                                                  By:AY, A d.4-vtlf/
                                                        GALE ALLEN EASTERDAY
                                                        Partner




                                                        KAREN OUISE EASTER
                                                        Partner

  Address for Notices:
  631 Bellflower Road
  Mesa, WA 99343                                   Ag
                                                  GALE ALLEN EASTERDAY

  Address for Notices:
  631 Bellflower Road
  Mesa. WA 99343
                                                  KAR        LOUISE E     ERDAY

  Address for Notices:
  830 Bellflower Road
  Mesa, WA 99343
                                                          ALL N         TERDAY

  Address for Notices:
  830 Bellflower Road
  Mesa, WA 99343
                                                              ASTE   AY

  Address for Notices:
  7915 W. Dradle St.
  Pasco, WA 99301
                                                  JO9 DEE EA TERDAY

 Address for Notices:

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   7916 W. Dredle St.
   Pasco, WA 99301
                                              ANDREW H WILLS

                                              LENDER:

  Address for Notices:                        RABO AG Fl        CE LLC
  14787 N. Outer 40 Rd., Suite 400
  Chesterfield, MO 63017                      BY:
  Attention: Loan Closing Department
                                                    Name: qt-tt/ \ r cA f1067
                                                    Tine:   V i CAC 1A.6 094




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                                                                         SCHEDULE 1
                                                                         povepantek
             Until such time as alt Obligations have been paid in full

             1.01        Insurance
           (a)        If any Real Estate is located in an area now or hereafter designated by the Director of the Federal Emergency Management Agency
 as a special flood hazard area. Borrower agrees to obtain and maintain Federal Flood Insurance, if available, within 45 days after notice is given by
 Lender that the Real Estate is located in a special flood hazard area, for the lesser of 1) the full unpaid pnncipal balance of the Loan, plus Swap
 Counterparties' denvative exposure under the Hedging Agreements as calculated by Swap Couriterparhes, plus any prior Liens on the property securing
 the Loan, 2) the total replacement value of any structure located in the flood hazard area, or 3) the Real Estate Term Loan 3 Maximum Amount available
 under the National Flood Insurance Program for the particular type of property, up to the maximum policy limits set under the National Flood Insurance
 Program, or as otherwise required by Lender, and to maintain such insurance for the term of the Loan




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                                                                            SCHED_LO.E2
                                                                      Rim:iodine Requirem nts
             2 01        Reportina Rear:gem nts. Borrower shall furnish to Lender
           (a)       promptly upon receipt, copies of all Notices, orders, or other communications regarding 0) any enforcement action by any
 Governmental Authority relating to health, safety, the environment, or any Hazardous Substances with regard to Borrower's property, activities, or
 operations, or 00 any claim against Borrower regarding Hazardous Substances,
          (b)         promptly upon Lender's request, all other books, records, statements, lists of property and accounts, budgets, forecasts, reports.
 records or other information pertaining to the condition or operations of Borrower requested by Lender




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                                                                       SCHEDULE 3
                                                               STATE SPECIFIC ADDENDUM
          1 01      Commercial Loan. Borrower acknowledges that the proceeds of the Loan are pnmanly for agnoultural, commercial, investment or
 business purposes, and are not for a consumer transaction (which is defined as a transaction pnmanty for personal, family or household purposes)
          1.02      NOTICE IS HEREBY GIVEN TO BORROWER THAT ORAL AGREEMENTS OR ORAL COMMITMENTS TO LEND MONEYS
 EXTEND CREDIT. MODIFY LOAN TERMS OR FORBEAR FROM ENFORCING REPAYMENT OF A DEBT ARE NOT ENFORCEABLE UNDER
 WASHINGTON LAW




3E Properties/EFP MCA 2018
Real Estate Tenn Loan 3 Faddy Sheet
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